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 1   QUINN EMANUEL URQUHART & SULLIVAN LLP
     Michael E. Liftik (CA Bar No. 232430)
 2   Sarah Heaton Concannon (pro hac vice)
 3   1300 I Street, Suite 900
     Washington, D.C. 20005
 4   Telephone: (202) 538-8000
     michaelliftik@quinnemanuel.com
 5   sarahconcannon@quinnemanuel.com
 6
     CRAVATH, SWAINE & MOORE LLP
 7   Antony L. Ryan (pro hac vice)
     Kevin J. Orsini (pro hac vice)
 8   Lauren M. Rosenberg (pro hac vice)
     Worldwide Plaza
 9   825 Eighth Avenue
10   New York, New York 10019
     Tel.: (212) 474-1000
11   Fax: (212) 474-3700
     aryan@cravath.com
12   korsini@cravath.com
     lrosenberg@cravath.com
13
     [Additional Counsel on Signature Page]
14

15   Counsel for Defendants Dfinity USA Research LLC, Dfinity Foundation, and Dominic Williams

16                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
17

18   DANIEL VALENTI, Individually and On Behalf          Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
19                                                       REPLY MEMORANDUM OF LAW
                                 Plaintiff,              IN FURTHER SUPPORT OF
20                                                       DEFENDANTS’ MOTION TO
               v.                                        DISMISS AMENDED CLASS
21                                                       ACTION COMPLAINT
22   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION and DOMINIC WILLIAMS,                    Date: July 14, 2022
23                                                       Time: 10:00 a.m.
                                 Defendants.             Courtroom: 11, 19th Floor
24                                                       Judge: Hon. James Donato
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 1   I.        PRELIMINARY STATEMENT

 2             In their Opposition1 to Defendants’ Motion to Dismiss, Plaintiffs seemingly abandon the

 3   Complaint wholesale, impermissibly using their Opposition to introduce new factual allegations

 4   and reframe the Complaint through inference and rhetoric. But Plaintiffs do not, and cannot, cure

 5   the inadequacy of their Complaint. This Court should grant Defendants’ Motion to Dismiss.

 6             First, Plaintiffs’ Opposition fails to establish that any Defendant was a statutory seller

 7   under Section 12. Plaintiffs do not plead that any Defendant directly, actively, or successfully

 8   solicited their ICP purchases. Implicitly recognizing this threshold pleading deficiency, Plaintiffs

 9   pivot in their Opposition and ask the Court to “infer” from generalized allegations in the Complaint

10   that Defendants directly passed title to ICP tokens to Plaintiffs. But Plaintiffs’ inference is belied

11   by their own allegations, and “inferring” privity is impermissible under the applicable pleading

12   standards, Section 12(a)(1), and Pinter v. Dahl, 486 U.S. 622 (1988).

13             Second, Plaintiffs double-down on their Exchange Act claims, alleging—for the first

14   time—a purported “pump and dump” scheme based on allegations that are nowhere to be found in

15   the Complaint. Plaintiffs’ inability to articulate a plausible theory of falsity and scienter confirms

16   the deficiencies of Plaintiffs’ misstatement claim. Plaintiffs’ market manipulation claim likewise

17   falls short under the stringent pleading standards of Rule 9(b) and the PSLRA. Indeed, it is

18   virtually impossible to decipher what specific acts Plaintiffs allege were manipulative or what

19   conduct Plaintiffs allege was deceptive. These pleading deficiencies require dismissal.

20   II.       DEFENDANTS WERE NOT STATUTORY SELLERS2

21             Pursuant to Pinter, Plaintiffs can establish that any Defendant was a statutory seller under

22

23
           1
            “Opp.” ECF No. 65. Capitalized terms have the meanings assigned to them in Defendants’
     opening brief (“Mem.”). ECF No. 62. All citations and quotations are omitted and all emphasis
24   added unless otherwise noted. “¶ __” refers to the Amended Complaint. ECF. No. 45.
         2
             Plaintiffs’ Securities Act claims are also untimely because the statute of repose has run.
25   Mem. at 4-6. Based on Plaintiffs’ own allegations, the first bona fide public offering took place
26   more than three years before their Complaint was filed. Id. Plaintiffs suggest that U.S. purchasers
     were blocked from participating in the earlier sale, so the statute of repose does not apply, Opp. at
27   5, but Defendants are not aware of any case from any jurisdiction endorsing this position, and
     Plaintiffs do not cite any. Plaintiffs also argue that the earlier sale was for “future” tokens, id. at
28   4, 6, but this is a red herring: All early purchasers received rights to the same tokens, and a “bona
     fide offer” means only an offer on which the seller genuinely intends to deliver. Mem. at 4-6.
                                                         -1-
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 1   Section 12(a)(1) only if that Defendant: (i) passed title in ICP tokens directly to Plaintiffs (privity);

 2   or (ii) directly solicited Plaintiffs’ purchase. 486 U.S. at 641-42; Mem. at 6. Plaintiffs fail to plead

 3   either prong, but nevertheless contend that they satisfy Section 12(a)(1)’s statutory seller standard

 4   through the “inference” that Defendants passed title to them and vague claims about Defendants’

 5   generalized “promotional efforts.” Opp. at 6-9. This Court should reject Plaintiffs’ arguments.

 6           A.      Plaintiffs’ Inference That Defendants Directly Passed Title Is Not Reasonable

 7           Because the “statutory scheme” of Section 12(a)(1) “impose[s] rescission based on strict

 8   liability,” the statutory seller standard “demands certainty and predictability.” Pinter, 486 U.S. at

 9   647, 651-52. Plaintiffs ask this Court to discard these principles of certainty and predictability,

10   and to instead draw impermissible and legally unsupported inferences that are belied by Plaintiffs’

11   own allegations. Courts routinely reject such efforts to show direct passage of title. See, e.g., In

12   re Alliance Equip. Lease Program Sec. Litig., 2002 WL 34451621, at *6 (S.D. Cal. Oct. 15, 2002)

13   (no privity where “[p]laintiffs have not alleged nor offered evidence that [defendant] was a direct

14   seller of the [token] (i.e. involved in the actual passing of title)”). This Court should do the same.3

15           Further, the inferences that Plaintiffs ask this Court to draw are not supported by their

16   allegations. See, e.g., Lenart v. Coach Inc., 131 F. Supp. 3d 61, 67 (S.D.N.Y. 2015) (“[A] court is

17   neither obligated to reconcile nor accept the contradictory allegations in the pleadings as true when

18   deciding a motion to dismiss.”). Plaintiffs allege that the Lead Plaintiff Rodriguez purchased ICP

19   tokens on Coinbase on May 18 and May 28 and on five separate dates in June. ¶ 14. But the

20   Complaint contains no particularized allegations directly connecting any purported sales by

21   Defendants to Mr. Rodriguez’s purchases. Plaintiffs assert—based on reports from unidentified

22   “Swiss Engineers”—that “Defendants sold ICP in the days and weeks that followed [May 10],”

23

24       3
          Plaintiffs cite Zakinov v. Ripple Labs, Inc., 2020 WL 922815, at *16 (N.D. Cal. Feb. 26,
     2020) in purported support of their novel proposal, but Zakinov addressed California Corporations
25   Code Section 25503, not Section 12 of the Securities Act. California courts have rejected the
26   argument that federal law should be used to interpret California code sections that are “not, on the
     matter of statutory seller status, ‘substantially identical’ to federal law.” Collins v. Winex Invs.,
27   LLC, 2009 WL 861738, at *5 (S.D. Cal. Mar. 27, 2009) (interpreting Sections 25401 and 25501).
     Similar reasoning applies here: Because Section 25503 is not substantially identical to Section
28   12(a)(1), this Court should reject Plaintiffs’ argument that Section 25503’s privity requirements
     have any relevance to Section 12(a)(1).
                                                         -2-
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 1   ¶ 86, but Plaintiffs plead no facts establishing that any Defendant sold (i) on Coinbase; (ii) on the

 2   dates on which Mr. Rodriguez allegedly purchased; and (iii) in sufficient quantities to have been

 3   the source of Mr. Rodriguez’s ICP tokens—facts that are required to support an inference of direct

 4   passage of title.    Similarly, Plaintiffs’ allegation that Defendants and “Team Members”

 5   collectively “controlled” a significant percentage of ICP tokens available on May 10 says nothing

 6   about whether, when, how, or to whom Defendants are alleged to have directly sold ICP tokens

 7   (and says even less about direct passage of title to Mr. Rodriguez)—particularly since Plaintiffs

 8   concede that only small quantities of “available” ICP tokens were sold by anyone. ¶¶ 77, 83.

 9          Indeed, Plaintiffs’ Complaint undercuts any inference that Mr. Rodriguez purchased ICP

10   tokens directly from Defendants, alleging that unknown accounts sold “nearly all” ICP tokens

11   exchanged on May 10, ¶ 83, and that “these three” accounts that allegedly received ICP tokens

12   from Defendants sold millions of ICP tokens between May 10 and July 28 (when Mr. Rodriguez

13   purchased). ¶¶ 14, 84. Allegations that Defendants may have transferred tokens to accounts of

14   unknown ownership, on unspecified platforms, and that those accounts allegedly sold ICP tokens,

15   expressly foreclose any inference that Mr. Rodriguez bought directly from Defendants. ¶¶ 83-85;

16   Pinter, 486 U.S. at 644 n.21 (under “§ 12(1) ... remote purchasers are precluded from bringing

17   actions against remote sellers. Thus, a buyer cannot recover against his seller’s seller.”).

18          At best, Plaintiffs’ allegations boil down to a “speculative statistical argument” that direct

19   passage of title can be inferred based on allegations that Defendants controlled a certain percentage

20   of ICP at launch, but this is not enough. Cf., e.g., Doherty v. Pivotal Software, Inc., 2019 WL

21   5864581, at *10 (N.D. Cal. Nov. 8, 2019) (allegations in a Section 11 claim that “stock is traceable

22   because of a favorable percentage do[] not give rise to a reasonable inference that plaintiffs’ shares

23   are traceable”). This would effectively eliminate Section 12(a)(1)’s privity requirement: Under

24   Plaintiffs’ logic, any purchaser of any token—no matter from whom they purchased—would

25   necessarily meet privity, because but for the initial token deposit on a platform, there would be

26   nothing to buy on the public market. This Court should not countenance Plaintiffs’ unprecedented

27   interpretation of Section 12(a)(1).

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 1          B.      Plaintiffs’ Solicitation Arguments Likewise Fail

 2          Plaintiffs next argue that Defendants are statutory sellers based on their purported

 3   generalized solicitation of ICP purchases, Opp. at 7, but this argument also fails.

 4          Plaintiffs rely heavily on Zakinov, 2020 WL 922815, at *12 and Balestra v. ATBCOIN

 5   LLC, 380 F. Supp. 3d 340 (S.D.N.Y. 2019) to support their own standard for solicitation, but this

 6   reliance is misplaced. Both Zakinov and Balestra ignore Pinter and impermissibly apply a

 7   statutory seller standard that Pinter expressly overturned. Balestra relied on a Second Circuit test

 8   set forth in SEC v. Chinese Consolidated Benevolent Ass’n, 120 F.2d 738 (2d Cir. 1941), over 45

 9   years before Pinter, which holds that “[a]ny person who engaged in steps necessary to the

10   distribution of the unregistered security is liable” under Section 5. 380 F. Supp. 3d at 357. Pinter

11   expressly rejected this test because it “focus[ed] on the defendant’s degree of involvement in the

12   securities transaction and its surrounding circumstances,” instead of “the defendant’s relationship

13   with the plaintiff-purchaser.” 486 U.S. at 651. Zakinov, in turn, relied solely on Balestra (and its

14   abrogated articulation of the solicitation standard). 2020 WL 922815, at *12; see also Owen v.

15   Elastos Found., 2021 WL 5868171, at *15 n.6 (S.D.N.Y. Dec. 9, 2021) (recognizing “error” in

16   Balestra from following “pre-Pinter caselaw”).

17          Under Pinter’s solicitation standard (the governing law), Plaintiffs’ generalized claims of

18   solicitation, Opp. at 7, are insufficient.    Plaintiffs allege only that Defendants purportedly

19   “relentlessly advertised ICP” through a series of widespread public promotions. Id. (citing ¶¶ 41-

20   49, 53, 57-58, 90, 92). This is not enough. Pinter requires specific allegations that “the defendant’s

21   relationship with the plaintiff-purchaser” was such that the plaintiff purchased because of the

22   defendant’s solicitation—i.e., the solicitation must “successfully” result in the purchase. 486 U.S.

23   at 647, 651; Mem. at 7-9 (collecting cases). The Complaint does not come close. And, contrary

24   to Plaintiffs’ assertion, this requirement does not “import a reliance requirement into § 12.” Opp.

25   at 9. Rather, Pinter’s mandate that promotional activities successfully result in a purchase is

26   determinative of whether a plaintiff has standing to bring a 12(a)(1) claim at all, a critical gating

27   requirement given the strict liability standard. Pinter, 486 U.S. at 646-47. In re Tezos Securities

28   Litigation, on which Plaintiffs rely, Opp. at 7, underscores this point, recognizing that liability is

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 1   not “plausible” “in the absence of any buyer-seller contact.” 2018 WL 4293341, at *9 (N.D. Cal.

 2   Aug. 7, 2018) (dismissing multiple defendants due to failure to allege buyer-seller contact).

 3              Plaintiffs’ allegations also fail to satisfy the post-Pinter requirement that the alleged contact

 4   between Plaintiffs and Defendants be direct. Mem. at 7-8 (collecting cases).4 This indisputably

 5   is the law in California, where the Court of Appeal held that “[a]n allegation of direct and active

 6   participation in the solicitation of the immediate sale is necessary for solicitation liability.” Jensen

 7   v. iShares Tr., 44 Cal. App. 5th 618, 647 (Cal. Ct. App. 2020). In accord with Jensen, the State

 8   Court in the parallel putative class action against the Dfinity Defendants recently held—on

 9   virtually identical facts as here—that the plaintiff failed to plead solicitation because plaintiff did

10   not “allege that he had any relationship with any Defendant, much less a direct relationship or

11   communication with any Defendant. At most, Plaintiff alleges that Defendants engaged in ‘general

12   advertising and promotions’—which is not sufficient to establish that any Defendant qualifies as

13   a statutory seller under Section 12.” Ocampo v. Dfinity USA Research LLC, No. 21-CIV-03843,

14   Dkt. 156, at 5 (Cal. Super. Ct., San Mateo Cty., Apr. 7, 2022) (Roche Decl. Ex. A). The same is

15   true here—Plaintiffs concede that the Complaint contains no allegations concerning Defendants’

16   relationship with any purchaser, much less the lead plaintiff. Opp. at 7-9. This Court likewise

17   should dismiss Plaintiffs’ Securities Act claims.

18   III.       PLAINTIFFS DO NOT PLEAD ANY ACTIONABLE MISSTATEMENTS OR
                OMISSIONS UNDER THE EXCHANGE ACT
19
                Plaintiffs’ Opposition underscores the deficiencies of their misstatements claim. Plaintiffs
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     do not adequately plead falsity, scienter, or loss causation, and their claim should be dismissed.
21
                A.      Plaintiffs Fail to Allege An Actionable Misstatement or Omission
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                In their Opposition, Plaintiffs effectively concede that Defendants’ statements were true,
23
     but argue that “literally true statements ‘can be misleading and thus actionable under the securities
24
     laws.’” Opp. at 9 (quoting Brody v. Transitional Hosps. Corp., 280 F.3d 997, 1006 (9th Cir.
25
     2002)). Plaintiffs’ recitation of hornbook law does not bolster their claims. Plaintiffs’ argument
26
            4
27          Plaintiffs’ protest that some of these cases addressed Section 12(a)(2) instead of 12(a)(1),
     Opp. at 8, is unavailing; courts routinely hold the standards to be identical. See, e.g., In re Charles
28   Schwab Corp. Sec. Litig., 257 F.R.D. 534, 548 n.2 (N.D. Cal. 2009) (“[T]he Ninth Circuit has
     clarified that the same [Pinter] inquiry governs claims under Section 12(a)(2).”) (cited Opp. at 9).
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 1   that Defendants’ “literally true” statements are nevertheless misleading at best amounts to an

 2   assertion that they were “incomplete”—i.e., that Defendants had a duty to provide Plaintiffs with

 3   additional information. But even if Defendants’ statements were incomplete—and they were

 4   not—that does not form the basis of a securities fraud claim. Brody, 280 F.3d at 1006 (Section

 5   10(b) “prohibit[s] only misleading and untrue statements, not statements that are incomplete”); see

 6   also Glenbrook Cap. Ltd. P’ship v. Kuo, 2008 WL 929429, at *10 (N.D. Cal. Apr. 3, 2008) (noting

 7   there is no rule of completeness in the Ninth Circuit, and “a statement does not necessarily mislead

 8   by simply failing to include all of the relevant facts”). Plaintiffs point to two categories of alleged

 9   misstatements concerning (i) lockup periods and (ii) vesting, Opp. at 10, but neither states a claim,

10   see, e.g., Glenbrook Cap., 2008 WL 929429, at *10; see also Brody, 280 F.3d at 1006 (“To be

11   actionable . . . an omission must . . . affirmatively create an impression of a state of affairs that

12   differs in a material way from the one that actually exists.”).

13          First, Plaintiffs argue that although Defendants’ statements about lockups were true, they

14   “created the impression” that every person or entity associated with Dfinity was locked up at

15   launch, Opp. at 10 (citing ¶¶ 179(f), (h)-(i)), but capricious impressions are not particularized

16   allegations. Because Plaintiffs concede that Defendants’ statements about the lockup period were

17   true, they must plead facts sufficient to show that Defendants’ literally true statements somehow

18   “create[d] an impression of a state of affairs that differ[ed] in a material way from the one that

19   actually exists.” Brody, 280 F.3d at 1006. Plaintiffs do not do so. Instead, Plaintiffs plead that

20   the purported lockups were expressly limited to “the foundation, founders, and directors” and “key

21   early team members.” Opp. at 9-10, 19 (citing ¶¶ 95, 97, 179(f) & (i)). Thus, if Defendants’

22   statements created any impression at all, it was that lockups were limited to select groups.

23   Plaintiffs’ lockup claim hinges on an unreasonable inference—belied by Plaintiffs’ own

24   allegations—that lockups applied to all team members or “insiders” (broadly and illogically

25   defined by Plaintiffs to include current and former employees and third party venture capital

26   firms). Plaintiffs’ argument that a specific statement about who is locked up implies a far broader

27   and more general statement that everyone is locked up defies law and logic. In re Rigel Pharms.,

28   Inc. Sec. Litig., 697 F.3d 869, 881 n.10 (9th Cir. 2012) (explaining that a statement that is not

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 1   inconsistent with or contradicted by the omitted facts is not materially misleading). Defendants’

 2   statements “neither stated nor implied anything regarding” whether all Dfinity-affiliated persons

 3   or entities were subject to lockup periods. Brody, 280 F. 3d at 1006. Plaintiffs cannot point to any

 4   statements by Defendants that no Dfinity-affiliated person or entity could sell at Genesis, and

 5   Plaintiffs have identified no case that imposes a duty to make such an affirmative representation.

 6          Plaintiffs also appear to suggest that Defendants’ statements were misleading because they

 7   did not disclose that the Foundation allegedly transferred ICP tokens to the ICA so it could

 8   allegedly sell “in circumvention of regulatory restrictions,” Opp. at 10, but these allegations fall

 9   far short of establishing the omission of any material fact with the particularity required by Rule

10   9(b) and the PSLRA. Plaintiffs do not allege, among other relevant facts, by whom the tokens

11   were transferred, what “regulatory restrictions” Defendants purportedly sought to circumvent or

12   why ICA sales would alleviate the supposed regulatory restrictions, and to what end. Further, the

13   only purported basis for Plaintiffs’ suggestion that Defendants transferred ICP tokens to the ICA

14   is uncorroborated reports from the anonymous “Swiss Engineers,” id. at 10 n.9, whom Plaintiffs

15   fail to identify with the requisite specificity. Plaintiffs’ description of the “Swiss Engineers” as

16   “whistleblower employees” and alarmist claims of “emergency committee” meetings lack the

17   hallmarks of credibility required for confidential witness allegations to bolster claims of securities

18   fraud. Applestein v. Medivation, Inc., 561 F. App’x 598, 600 (9th Cir. 2014) (declining to credit

19   confidential witnesses where plaintiff pleaded no facts supporting an inference that the witnesses

20   had personal knowledge of relevant information); McGovney v. Aerohive Networks, Inc., 367 F.

21   Supp. 3d 1038, 1053-54 (N.D. Cal. 2019) (“[W]ithout describing the particular responsibilities of

22   each of the [confidential witnesses], the complaint also fails to adequately allege that [they] were

23   in a position to have the knowledge they profess.”).

24          Second, Plaintiffs argue that Defendants’ (literally true) statements concerning vesting

25   “implied” that “Dfinity team members” were subject to strict vesting requirements, Opp. at 10-11

26   (citing ¶¶ 56, 90, 92-93), but this, too, is nothing more than a complaint that Defendants’ statements

27   were somehow “incomplete.” Plaintiffs curiously argue that there is a duty when discussing one

28   group of ICP holders (outsiders) to also discuss a completely different group of ICP holders

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 1   (insiders). Id. at 11. Not only does Plaintiffs’ position find no support in the law, but none of the

 2   facts to which Plaintiffs point supports their claim. Id. at 15-16; ¶ 54 (table showing ICP allocation

 3   at Genesis); ¶ 90 (Mr. Williams’ public statement on social media from February 2018 that third

 4   parties Polychain and a16z were not “looking to flip their positions for a quick profit”); ¶ 92

 5   (emphasizing vesting requirements for Seed and Airdrop purchasers, including that it is “important

 6   that the flow of liquid ICP tokens . . . is released on a schedule for the safety and security of ICP

 7   holders”). Plaintiffs do not plead that Defendants “create[d] an impression of a state of affairs that

 8   differ[ed] in a material way from the one that actually exists.” Brody, 280 F. 3d at 1006.

 9          Third, Plaintiffs cannot support a misstatements and omissions claim by pointing to

10   statements allegedly made in 2018—more than three years before the filing of the Complaint.

11   Zelman v. JDS Uniphase Corp., 376 F. Supp. 2d 956 (N.D. Cal. 2005) (cited Opp. at 12) is

12   inapposite. There, the plaintiff alleged that the value of the “equity-backed debt securities”

13   purchased “was distorted by fraud relating to the value of” certain “pre-existing linked

14   securities.” 376 F. Supp. 2d at 965-97. Not so here. More importantly, Plaintiffs do not allege

15   that the “omitted information had plausibly occurred at the time of the challenged statements,” In

16   re Twitter, Inc. Sec. Litig., 2020 WL 7260479 (N.D. Cal. Dec. 10, 2020), aff’d sub nom. Weston

17   Family P’ship LLP v. Twitter, Inc., 29 F.4th 611 (9th Cir. 2022), nor could they. Defendants’

18   alleged statements from 2018—three years before Genesis—were statements about what might

19   happen in the future, and, as such, cannot form the basis for Plaintiff’s misstatements claim.

20          B.      Plaintiffs Fail to Allege Scienter

21          Plaintiffs’ circular arguments as to scienter—which impermissibly attempt to shift the

22   burden from Plaintiffs to plead scienter to Defendants to refute it, Opp. at 12-13—fare no better.

23          First, Plaintiffs argue that Defendants’ omissions were “one piece of a broader strategy”

24   to inflate the price of ICP, id. at 12, but this conclusory assertion does not support a strong

25   inference of scienter—and is belied by Plaintiffs’ own allegation that following Genesis,

26   Defendants made statements that allegedly disclosed the fraud. In re Solarcity Corp. Sec. Litig.,

27   274 F. Supp. 3d 972, 1008 (N.D. Cal. 2017) (“[f]acts showing mere recklessness or a motive to

28   commit fraud and the opportunity to do so” are insufficient to create strong inference of scienter).

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 1   Further, even if this Court could consider Defendants’ purported “broader strategy” as evidence of

 2   scienter, Plaintiffs have not pleaded particularized facts establishing such a strategy. Courts are

 3   “not required to indulge unwarranted inferences in order to save a complaint from dismissal.”

 4   Metzler Inv. GmbH v. Corinthian Colls., Inc., 540 F.3d 1049, 1064-65 (9th Cir. 2008).

 5          Second, Plaintiffs argue that Defendants must have known of the allegedly omitted facts

 6   because of Mr. Williams’ role and the “fundamental importance” of the information, Opp. at 13 &

 7   n.11, but courts routinely reject such “core operations” theories of scienter, see, e.g., Solarcity, 274

 8   F. Supp. 3d at 1012-13. To establish scienter under the exacting requirements of Rule 9(b) and

 9   the PSLRA, Plaintiffs must plead “a highly unreasonable omission, involving not merely simple,

10   or even inexcusable negligence . . . which presents a danger of misleading buyers or sellers[.]”

11   Mem. at 14 (quoting In re Silicon Graphics Inc. Sec. Litig., 183 F.3d 970, 976 (9th Cir. 1999)).

12   Plaintiffs cite Complaint ¶ 182, which quotes a “sworn declaration filed in connection with another

13   matter” in which Mr. Williams allegedly stated that he felt “pressure” not to sell his ICP. But even

14   if such after-the-fact allegations could establish Mr. Williams’ contemporaneous state of mind,

15   nothing in this statement suggests that Mr. Williams made any intentional misstatements or

16   omissions. Similarly, Plaintiffs cannot rely on statements made in 2018, before the Genesis launch

17   in 2021, to establish Defendants’ scienter. To plead intentionality or deliberate recklessness, the

18   Complaint “must contain allegations of specific contemporaneous statements or conditions that

19   demonstrate the intentional or the deliberately reckless false or misleading nature of the statements

20   when made.” Solarcity, 274 F. Supp. 3d at 1008. Here, Plaintiffs do not allege a single fact

21   establishing a causal connection between what Defendants allegedly knew in 2018 and a purported

22   intent to deceive ICP token purchasers three years later.

23          Third, purported departures of certain employees do not support a strong inference of

24   scienter. Opp. at 13-14 (citing ¶¶ 65, 114). To support a finding of scienter on this ground,

25   plaintiffs would need to “allege sufficient information to differentiate between a suspicious change

26   in personnel and a benign one.” Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 1002 (9th

27   Cir. 2009). Here, Plaintiffs plead no facts whatsoever tying employee departures to the alleged

28   fraud. Absent such facts, the inference that the resignations or terminations were related to the

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 1   alleged fraud “will never be as cogent or as compelling as the inference that the employees resigned

 2   or were terminated for unrelated personal or business reasons.”5 Id; see also City of Dearborn

 3   Heights Act 345 Police & Fire Ret. Sys. v. Align Tech., Inc., 856 F.3d 605, 622 (9th Cir. 2017)

 4   (finding that employee resignations are probative of scienter “only when the resignation at issue

 5   was uncharacteristic when compared to the defendant’s typical hiring and termination patterns or

 6   was accompanied by suspicious circumstances”).

 7          Fourth, in a last-ditch attempt to establish scienter, Plaintiffs purport to rely on “evidence

 8   uncovered after the Amended Complaint was filed.” Opp. at 14 & Roche Decl. Ex. B. As an

 9   initial matter, Plaintiffs’ attempt to introduce new “evidence” in their Opposition is impermissible,

10   and this Court should reject their argument on that ground alone. See, e.g., Colgate v. JUUL Labs,

11   Inc., 402 F. Supp. 3d 728, 750 (N.D. Cal. 2019) (“[N]ew allegations contained in an opposition

12   motion may not be properly considered in ruling on a motion to dismiss.”). More to the point,

13   Plaintiffs’ so-called evidence is nothing of the kind: Plaintiffs ask this Court to rely on unproven

14   allegations in a complaint filed by Mr. Williams’ son in June of last year, which have not been

15   adjudicated, and appear to be nothing more than the fruit of an apparent family feud. See Opp. at

16   14 & Roche Decl. Ex. B. Far from supporting a strong inference of scienter, Plaintiffs’ reliance

17   on these unproven allegations underscores the fundamental deficiency of their scienter claim—

18   Plaintiffs allege no sales. Plaintiffs’ backhanded accusation that they are at a disadvantage because

19   Mr. Williams “illegally failed to submit a Form 4 to the SEC in connection with his sales,” Opp.

20   at 14, is likewise baseless.6 It is “Plaintiffs’ burden to plead scienter with particularity” and “the

21   unavailability of historical trading data does not unfairly foreclose Plaintiffs’ ability to survive a

22   motion to dismiss.”     Curry v. Yelp Inc., 2015 WL 7454137, at *14 (N.D. Cal. Nov. 24,

23
        5
           Plaintiffs’ reliance on Middlesex Ret. Sys. v. Quest Software Inc., 527 F. Supp. 2d 1164 (C.D.
24   Cal. 2007), Opp. at 13-14, is unsound. There, the plaintiff pleaded that defendant’s former CEO
     refused to cooperate with a special committee investigation and instead chose to resign. Id. at
25   1187. Plaintiffs plead no facts (nor could they) suggesting that any such thing occurred here.
26
         6
            Plaintiffs’ allegation also misstates the federal securities laws. Form 4s must be filed by
     certain reporting persons for issuers of securities registered under Section 12 of the Exchange Act.
27   See Exchange Act Section 16(a), 15 U.S.C. § 78p(a). Plaintiffs nowhere allege that ICP should
     have been registered under the Exchange Act. Rather, their claims stem from an alleged violation
28   of Section 5 of the Securities Act, which requires registration or an exemption under the Securities
     Act. To base scienter on the failure to file a form Mr. Williams was not required to file is absurd.
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 1   2015), aff’d, 875 F.3d 1219 (9th Cir. 2017). Plaintiffs similarly cannot fall back on generalized

 2   allegations about purported sales during the Class Period. Opp. at 14 (citing ¶¶ 79-86, 188, 201).

 3   Even if these allegations were well-pleaded (and they are not), sales by other, or former, Dfinity

 4   employees do not suffice to establish Defendants’ scienter. See, e.g., Wozniak v. Align Tech., Inc.,

 5   2011 WL 2269418, at *14 (N.D. Cal. June 8, 2011) (“Sales by insiders not named as defendants,

 6   however, are irrelevant to the determination of the named defendant’s scienter.”).

 7          C.      Plaintiffs Fail To Plead Loss Causation

 8          In response to Defendants’ showing that Plaintiffs do not plead any adequate corrective

 9   disclosures, Plaintiffs argue that they need only offer this Court “some assurance that the theory

10   has a basis in fact,” Opp. at 15 n.12 (quoting In re BofI Holding, Inc. Secs. Litig., 977 F.3d 781,

11   794 (9th Cir. 2020)), but Plaintiffs cannot surmount even the low bar they set for themselves.

12          Plaintiffs’ argument that they have identified disclosures that “render some aspect of

13   defendant’s prior statements false or misleading,” Opp. at 15 (quoting BofI, 977 F.3d at 790), is

14   unavailing. Because Plaintiffs fail to establish that any of Defendants’ statements were false or

15   misleading, see supra pp. 5-8, they also fail to establish that there was anything to “correct.”

16   Moreover, Plaintiffs’ purported “disclosures” are not well-pleaded and bear no relationship to

17   Defendants’ allegedly misleading statements. Plaintiffs argue that Mr. Williams stated that (i) “the

18   foundation, founders and directors weren’t even able to sell” at launch, ¶ 179(i); (ii) the

19   “foundation did NOT sell ICP tokens from its endowment at or soon after Genesis launch,”

20   ¶ 179(h); and (iii) both “Seed Donors” and “former employees” divested their ICP tokens at the

21   time of launch, ¶¶ 99-100. Plaintiffs then paradoxically allege that these statements are somehow

22   both misleading and corrective, because they at once “created the impression” that Dfinity’s team

23   members were not subject to any vesting restrictions, while also “disclosing” that former Dfinity

24   employees sold ICP at launch. Opp. at 15-16. But Defendants never suggested—much less

25   stated—that former employees were subject to vesting restrictions; that “key early team members”

26   were locked up at launch has no bearing on former employees. Oregon Pub. Emps. Ret. Fund v.

27   Apollo Grp. Inc., 774 F.3d 598, 608 (9th Cir. 2014) (no loss causation where it was “unclear what

28   claims made by the defendants were invalidated by” the alleged disclosures); see also In re Oracle

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 1   Corp. Sec. Litig., 627 F.3d 376, 392 (9th Cir. 2010) (“[T]o establish loss causation, the market

 2   must learn of and react to those particular practices themselves.”).

 3            Plaintiffs’ argument that comments from former Dfinity employees on Reddit are

 4   “corrective disclosures,” Opp. at 15 (citing ¶¶ 103-04), is even less compelling. If anything,

 5   allegations that former Dfinity employees stated that they sold ICP tokens at launch confirm the

 6   truth of Mr. Williams’ statements attributing ICP token sales at the time of launch to former Dfinity

 7   employees. ¶¶ 100, 179(j). Plaintiffs also allege that an unidentified Reddit “user posited that

 8   Dfinity and team sold 90 million tokens since Genesis.” ¶ 103. Not only does this statement not

 9   specify who “Dfinity and team” refers to, but it was made by an anonymous individual posting on

10   a public internet message board. Plaintiffs plead no facts establishing the reliability of the

11   statement, much less that it is a corrective disclosure pled with the specificity required under Rule

12   9(b).7   In re AOL Time Warner, Inc. Sec. Litig., 503 F. Supp. 2d 666, 679-80 (S.D.N.Y.

13   2007) (third-party comments in news article and speculative concerns about accounting practices

14

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        7
            Plaintiffs’ attempt to characterize the Arkham Report as a corrective disclosure, Opp. at 15,
     likewise fails. That report compiled public information and vaguely speculated about Defendants’
16   purported wrongdoing. See ¶ 108. It is no more a “corrective disclosure” than a short seller analyst
     report. See, e.g., In re Nektar Therapeutics Sec. Litig., 34 F.4th 828, 840 (9th Cir. 2022) (holding
17   that even where short seller report “pulled together disparate sources and connected data in ways
     that were not plainly obvious,” report was still insufficient to establish loss causation). Plaintiffs’
18
     reliance on the Arkham Report for their allegations concerning (i) alleged deposits and transfers
19   of ICP tokens by “Dfinity and its insiders,” and (ii) alleged technical difficulties accessing tokens
     at Genesis Launch encountered by certain purchasers is misplaced. ¶¶ 71-72, 82, 107-09. On its
20   face, the Arkham Report is highly unreliable: it did not rely on publicly filed documents or a major
     industry trade publication, and it was not produced by a named author. See id. The Court should
21   not credit allegations derived from this patently unreliable source. See, e.g., Hershewe v. JOYY
22   Inc., 2021 WL 6536670, at *4 (C.D. Cal. Nov. 5, 2021) (granting motion to dismiss where short
     seller report on which complaint relied lacked indicia of reliability); In re Nektar Therapeutics,
23   2020 WL 3962004, at *10 (N.D. Cal. July 13, 2020) (holding that absence of any information
     about authors of short seller report’s qualifications, together with their standing to benefit from
24   poor stock performance, failed to support falsity allegations). Dfinity Foundation recently sued
     the New York Times, Arkham Intelligence, Inc. and other related parties for defamation. Liftik
25   Decl. Ex. A (Dfinity Found. v. New York Times Co., et al., Case No. 1:22-cv-5418, Dkt. No. 1).
26   The complaint makes numerous allegations concerning the reliability of the Arkham Report,
     including that Arkham has released only a single report in the entire duration of its existence,
27   Arkham has tweeted only a handful of times and in reference exclusively to the Arkham Report,
     the authors of the Arkham Report all appear to have no prior experience in the blockchain industry,
28   outside of connections to Dfinity’s competitor Reserve Protocol, and Arkham was, by its own
     admission, hired and paid to prepare the Arkham Report. Id. at ¶¶ 3(a)-(d), 13.
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 1   not corrective disclosures); Teamsters Local 617 Pension & Welfare Funds v. Apollo Grp., Inc.,

 2   633 F. Supp. 2d 763, 820 (D. Ariz. 2009) (analyst report questioning defendants’ stock option and

 3   making “speculative observations” not corrective disclosure).

 4   IV.       PLAINTIFFS DO NOT PLEAD A MARKET MANIPULATION CLAIM

 5             In response to Defendants’ showing that Plaintiffs improperly attempt to bootstrap their

 6   misstatements claim into a market manipulation claim, Plaintiffs now focus on alleged “secret off-

 7   market transactions” and difficulties with certain purchasers accessing their ICP, Opp. at 16-17.8

 8   This changes nothing: Plaintiffs allege no manipulative act, no deceptive conduct, and no scienter.

 9             A.     Plaintiffs Fail To Plead A Manipulative Act Or Deceptive Conduct

10             Plaintiff’s new focus on so-called “secret off-market transactions” (which were part of a

11   standard buyback program) to establish their manipulation claim fails on at least three grounds.

12             First, to plead a viable market manipulation claim, Plaintiffs must allege that some “false

13   pricing signal” was sent to the market or that the market was otherwise deceived. ATSI Commc’ns,

14   Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 101, 104-05 (2d Cir. 2007). But Plaintiffs fail to address

15   their argument’s crucial deficiency: It is impossible for the market to have been deceived by

16   Defendants’ alleged nonpublic purchases of employee tokens (which allegedly restricted the

17   supply of available ICP beyond what the market expected), when—according to Plaintiffs’ own

18   allegations—the market believed that Dfinity team employees would be unable to sell at Genesis

19   Launch due to vesting restrictions. ¶ 179(a). Plaintiffs cannot allege that these off-market

20   transactions “distorted the market picture,” Opp. at 18, when the market had no expectation that

21   these tokens would be available for public sale in the first place.

22             Second, Plaintiffs’ assertion that, but for the cash-in-lieu-of-tokens program, Dfinity

23   employees would have sold their ICP tokens on the open market shortly after launch, increasing

24   supply and reducing price, Opp. at 13, 17-18, is rank speculation. See, e.g., Lloyd v. CVB Fin.

25

26         Plaintiffs’ scattershot loss causation allegations further highlight the inadequacy of their
           8

     market manipulation claim; Plaintiffs do not plead facts establishing which disclosures allegedly
27   “correct” each of Defendants’ alleged misrepresentations, as opposed to which disclosures
     allegedly “correct” each of Defendants’ alleged manipulative acts. Opp. at 15-16; see, e.g., In re
28   Bank of Am. Corp., 2011 WL 740902, at *15 (N.D. Cal. Feb. 24, 2011) (dismissing manipulation
     claim for failure to plead loss causation in connection with specific manipulative acts).
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 1   Corp., 2012 WL 12883522, at *22 (C.D. Cal. Jan. 12, 2012) (statements “rife with speculation and

 2   conjecture” “lack the specificity demanded by Rule 9(b)”).9

 3          Finally, allegations that Defendants “prevented” Seed participants from accessing their

 4   tokens, or that Defendants announced Seed vesting restrictions shortly before Genesis Launch,

 5   cannot form the basis of Plaintiffs’ manipulation claim. Plaintiffs not only plead nothing to support

 6   a finding that the technical issues experienced by Seed participants were intentional, but also fail

 7   to overcome the fact that both the vesting restrictions and the instructions for Seed participants to

 8   access their tokens were publicly disclosed prior to Genesis Launch. See, e.g., ScripsAmerica,

 9   Inc. v. Ironridge Glob. LLC, 56 F. Supp. 3d 1121, 1162 (C.D. Cal. 2014) (dismissing market

10   manipulation claim where plaintiff failed to allege “facts indicative of manipulative intent”); In re

11   Merrill Lynch Auction Rate Sec. Litig., 704 F. Supp. 2d 378, 390-93 (S.D.N.Y. 2010) (dismissing

12   market manipulation claim for failure to plead manipulative activity where transaction’s terms

13   were fully disclosed to the public).10

14          B.      Plaintiffs Fail To Plead A Strong Inference Of Scienter

15          In support of their manipulation claim, Plaintiffs again ask this Court to infer scienter from

16   boilerplate allegations of motive, merely arguing that because Defendants had a “direct pecuniary

17   interest in [Dfinity’s] success,” Opp. at 18, they have met the high bar for pleading scienter under

18   the PSLRA and Rule 9. But “scienter cannot rest on” such allegations of motive alone. Bennett

19   v. H&R Block Fin. Advisors, Inc., 2005 WL 8178042, at *6 (N.D. Cal. June 1, 2005) (“[I]ncentives

20
        9
             The acts Plaintiffs allege are also inherently inconsistent with any so-called “pump.” ICP
21   tokens began trading at $730 before promptly declining in value. ¶ 8. Each of the actions Plaintiffs
22   assert Dfinity took following that decline would only have exacerbated the fall by increasing the
     selling pressure on ICP tokens—the very opposite of a “pump.”
          10
23            Plaintiffs rely heavily on Crane Co. v. Westinghouse Air Brake Co., 419 F.2d 787 (2d Cir.
     1969), Opp. at 17-19, but Crane is inapposite. There, plaintiff sued defendant for allegedly
24   manipulating its stock price by working with another company to artificially drive up the price
     through “extraordinary transactions” and cause defendant’s stockholders to reject a tender offer.
25   Id. at 792. The effect of the “extraordinary buying,” together with “large secret [off-market] sales,”
26   “create[d] the appearance of an extraordinary demand for [defendant’s] stock and a dramatic rise
     in market price, as a result of which [defendant’s] shareholders were deterred from tendering.” Id.
27   at 793. The court focused on the allegations of collusion; specific deceptive acts; numerous
     specific sales and transactions; defendant’s desire to beat the tender offer; and the fact that an
28   investor “could only conclude that there was a wide-based demand for [defendant’s] stock and that
     it would be unprofitable to tender his stock[.]” Id. at 795. Plaintiffs make no such allegations.
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 1   to enhance business prospects are insufficient allegations of scienter.”).

 2             Plaintiffs now resort to innuendo, baldly asserting that there is “no innocent explanation

 3   for Defendants’ transactions and restrictions,” Opp. at 19, but run-of-the-mill vesting requirements

 4   and employee incentive programs do not become suspicious simply because Plaintiffs say so. Cf.

 5   Rigel, 697 F.3d at 884 (“routine corporate objectives” and compensation structures based on those

 6   objectives do not show fraudulent intent); Bennett, 2005 WL 8178042, at *6.

 7             Plaintiffs’ repeated claim that “Defendants sold ICP during the relevant period and profited

 8   handsomely from those sales,” Opp. at 19, does not change the actual allegations of the Complaint.

 9   To be clear: Plaintiffs do not allege a single sale by any Defendant. Mem. at 19. Plaintiffs do not

10   establish that Defendants “sold ICP” and “profited handsomely” such that they benefited from any

11   purported market manipulation. Plaintiffs’ attempts to cobble together a manipulation claim

12   through colorful language and rhetoric fail.

13   V.        PLAINTIFFS DO NOT SALVAGE THEIR INSIDER TRADING CLAIM

14             Plaintiffs argue that this Court should not dismiss their insider trading claim because they

15   allege a predicate violation and contemporaneous trading, Opp. at 19-20, but neither assertion is

16   true. Plaintiffs’ failure to establish a predicate violation of the Exchange Act forecloses their

17   Section 20A claim as a matter of law. Mem. at 20.11 Even if Plaintiffs stated a predicate violation,

18   their argument that they satisfied the “contemporaneous trading” requirement by purchasing ICP

19   within nine days of a sale by Defendants, Opp. at 20, falls short. Plaintiffs do not adequately plead

20   that any Defendant traded close in time to Plaintiffs. See supra pp. 12-13; see also, e.g., In re

21   Petco Animal Supplies Inc. Sec. Litig., 2006 WL 6829623, at *35 (S.D. Cal. Aug. 1, 2006)

22   (dismissing insider trading allegations where plaintiff failed to identify any stock trades made by

23   individual defendants). Plaintiffs’ generalized allegations do not suffice.

24   VII.      CONCLUSION

25             For the foregoing reasons and those set forth in Defendants’ opening brief, this Court

26   should grant Defendants’ motion to dismiss the Complaint in its entirety.

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28        11
           Because Plaintiffs fail to allege a predicate violation, their Section 20(a) control person
     claims also must be dismissed. Mem. at 20.
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          DEFENDANTS’ REPLY IN FURTHER SUPPORT OF THEIR MOTION TO DISMISS AMENDED CLASS
                             ACTION COMPLAINT, CASE NO. 3:21-CV-06118-JD
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 1   Dated:     July 8, 2022         Respectfully Submitted,
 2                                   QUINN EMANUEL URQUHART & SULLIVAN
                                     LLP
 3
                                     /s/ Michael E. Liftik
 4
                                     Michael E. Liftik (CA Bar No. 232430)
 5                                   Sarah Heaton Concannon (pro hac vice)
                                     1300 I Street, Suite 900
 6                                   Washington, D.C. 20005
                                     Telephone: (202) 538-8000
 7                                   michaelliftik@quinnemanuel.com
                                     sarahconcannon@quinnemanuel.com
 8

 9                                   Emily C. Kapur (CA Bar No. 306724)
                                     555 Twin Dolphin Dr., 5th Fl.
10                                   Redwood Shores, California 94065
                                     Telephone: (650) 801-5000
11                                   emilykapur@quinnemanuel.com
12
                                     Brenna Nelinson (pro hac vice)
13                                   51 Madison Avenue, 22nd Floor
                                     New York, New York 10010
14                                   Telephone: (212) 849-7000
                                     brennanelinson@quinnemanuel.com
15

16                                   CRAVATH, SWAINE & MOORE LLP

17                                    /s/ Antony L. Ryan
                                     Antony L. Ryan (pro hac vice)
18                                   Kevin J. Orsini (pro hac vice)
                                     Lauren M. Rosenberg (pro hac vice)
19                                   Worldwide Plaza
20                                   825 Eighth Avenue
                                     New York, New York 10019
21                                   Tel.: (212) 474-1000
                                     Fax: (212) 474-3700
22                                   korsini@cravath.com
23
                                     Counsel for Defendants
24

25

26

27
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       DEFENDANTS’ REPLY IN FURTHER SUPPORT OF THEIR MOTION TO DISMISS AMENDED CLASS
                          ACTION COMPLAINT, CASE NO. 3:21-CV-06118-JD
